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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  WALTINE NAUTA and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

         GOVERNMENT’S SECOND NOTICE IN RESPONSE TO DEFENDANTS’
                         EMERGENCY MOTION

         In light of this Court’s order (ECF No. 682), the Government will respond to Defendants

  Waltine Nauta and Carlos De Oliveira’s motion for emergency relief in the Eleventh Circuit and

  will not otherwise respond to the related motion in this Court (ECF No. 679) absent further

  direction from this Court or from the Eleventh Circuit.

                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel
                                               N.Y. Bar No. 2678084

                                               BRIAN M. BOYNTON
                                               Principal Deputy Assistant Attorney General
                                               Civil Division

                                       By:     /s/ Elizabeth J. Shapiro
                                               Elizabeth J. Shapiro
                                               Special Bar ID #A5502352
                                               Deputy Branch Director
                                               Federal Programs Branch, Civil Division

  January 7, 2025
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 7, 2025, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

  Notices of Electronic Filing.


                                       /s/ Elizabeth J. Shapiro
                                       Elizabeth J. Shapiro




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